       MAGISTRATE JUDGE NEWBERN COURTROOM MINUTES FOR CRIMINAL PROCEEDINGS
                               by VIDEOCONFERENCE
                                                   g
U.S.A. v.      R i c a.1/6 C2   ~r (~~             ~J   sa n k                      , No. 3: Z i - m i     LIl Ll R

ATTORNEY FOR GOVERNMENT:

ATTORNEY FOR DEFENDANT:                 b'(1G►►r1 Kl nn ,          H-enryL6enI6'            AFPD         Panel        etained

PRETRIAL SERVICES/PROBATION OFFICER:                      I1 CLnC",     RGC W

INTERPRETER NEEDED?             YES     NO         LANGUAGE/INTERPRETER:
                                                   ❑ PRESENT       ❑ ON TELEPHONE

❑ Defendant consents to Initial App. and       ❑   All future hearings before the Magistrate Judge by video conference.

❑ INITIAL APPEARANCE ❑ ON A SUMMONS ❑ ARRESTED ON:
      DEFENDANT HAS A COPY OF:
      ❑ Complaint ❑ Indictment ❑ Information ❑ Supervised Release Pet. ❑ Other
      ❑ Defendant advised of the charges and the maximum penalties ❑ Defendant has a copy of notice of rights
      ❑ Defendant advised of right to counsel                 ❑ Counsel retained
      ❑ Defendant sworn and/or certified under penalty of perjury and financial affidavit filed   ❑ FPD Appointed
      ❑ Defendant advised of right to silence
      ❑ Defendant advised of right to Consular notification
      ❑ GOVERNMENT and DEFENDANT advised of Due Process Protections Act of 2020
      ❑ Defendant advised of right to preliminary hearing             ❑ Defendant waived preliminary hearing
      ❑ Government motion for detention                               ❑ Defendant temporarily detained
      ❑ Defendant waived detention hearing                            ❑ ICE detainer on defendant
      ❑ Defendant reserved right to hearing in future                 ❑ Defendant to be returned to State custody
      ❑ Defendant to remain in Federal custody                        ❑ Defendant waived rights under IAD
      ❑ Defendant remain on current conditions of supervised release
      ❑ Defendant ordered to psychological/psychiatric evaluation
      ❑ Defendant released on:
             ❑ Own recognizance with conditions of release ❑ standard         ❑ special
             ❑ Appearance bond in the amount of.
             ❑ Property bond [description of property]:
      ❑ RULE 5 - Defendant advised of right to identity hearing      ❑ Defendant waived identity hearing
      ❑ RULE 5 - Defendant reserved right to have preliminary hearing in District of Prosecution
      ❑ RULE 5 - Defendant elected to have detention hearing in District of Prosecution
      ❑ RULE 5 - DEFENDANT ADVISED OF RIGHT TO RULE 20 TRANSFER
❑ PRELIMINARY/ DETENTION/ARRAIGNMENT CONTINUED TO:

❑ GRAND JURY WAIVED IN OPEN COURT                  [Defendant sworn and advised of rights by Court]
❑ ARRAIGNMENT
     ❑ Defendant acknowledges he/she has copy of Indictment/Information ❑ Court advised Def. of penalties
     ❑ Defendant waives reading thereof            ❑ Indictment/Information read to defendant by Judge
     PLEA: ❑ GUILTY        ❑ NOT GUILTY            ❑ Defendant intends to plead guilty and case referred to DJ




       DATE: `1-11 7 /2 1                                 TOTAL TIME.-            15 m ► ^
       BEGIN TIME: 3; 0               , rr,.              END TIME:          -5% 1 c~     .
       Digitally Recorded

       Form Revised 2/9/2018                            Page   1   of
            Case 3:21-mj-04149 Document 21 Filed 09/17/21 Page 1 of 2 PageID #: 344
UNITED STATES OF AMERICA v.                                                               No. 3:     2 I -rni - g1gq

❑ RULE 5 IDENTITY HEARING
     ❑ Held, defendant found to be person named in warrant
     ❑ Held, defendant found NOT to be person named in warrant and released
     ❑ Waived in open Court

❑ PRELIMINARY HEARING                       CONTINUED TO:
     ❑ Probable Cause found/Held to answer/bound   over                      ❑ Discharged from custody
     ❑ Defendant waived preliminary hearing
     ❑ RULE 5 - Held to answer in District of Prosecution
     ❑ RULE 5 - Defendant reserved right to have hearing in District of Prosecution

❑ DETENTION HEARING                          CONTINUED TO:
     ❑ Government withdrew motion for detention or agreed to release
     ❑ Pretrial Services Report made a part of the record    ❑ Counsel moved to retain copy of PTSR/granted
     ❑ Bond set at:                                   ❑ Defendant released on [date]:
     ❑ RULE 5 - Defendant elected to have hearing in District of Prosecution
     ❑ Defendant waived detention hearing             ❑ Defendant reserved right to hearing in future
     ❑ Defendant detained, order to enter             ❑ ICE detainer pending
     ❑ Defendant to remain in Federal custody         ❑ Defendant to be returned to State custody
     ❑ Government moved for stay of execution of release pending appeal
             ❑ Motion granted                         ❑ Motion denied
     ❑ Defendant advised of right to appeal

❑ ARRAIGNMENT ON MISDEMEANOR
     ❑ Defendant acknowledges he/she has copy of Indictment/Information
     ❑ Indictment/Information read to defendant by Judge ❑ Defendant waives reading thereof
     PLEA: ❑ GUILTY         ❑ NOT GUILTY
     ❑ Misdemeanor - defendant consented to trial before Magistrate Judge
     ❑ Written plea agreement/filed in open Court          ❑ Oral plea agreement
     ❑ Guilty plea:         ❑ Accepted              ❑ Rejected             ❑ Taken under advisement




❑ DEFENDANT DID NOT APPEAR AS DIRECTED, BENCH WARRANT ISSUED


NOTES/EVIDENTIARY MATTERS/SENTENCING:                        (Witnesses, Exhibits, Attach W/Ex List if necessary),'




                                                 Page 2 of
         Case 3:21-mj-04149 Document 21 Filed 09/17/21 Page 2 of 2 PageID #: 345
